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~AO 245D     (Rev. 12/07) Judgment in a Criminal Case for Revocations     #1486
             Sheet 1



                                         UNITED STATES DISTRICT COURT
                                                                      Southern District of Illinois

        UNITED STATES OF AMERICA                                                                    Judgment in a Criminal Case
                   v.
                     Larry W. York

                                                                                                    Case No. 02CR40078
                                                                                                    USM No. 18708-076
                                                                                                    Judith Kuenneke, AFPD
                                                                                                                                    Defendant's Attorney
THE DEFENDANT:
~ admitted guilt to violation of condition(s)                       as alleged below                                        of the tenn of supervision.
o was found in violation of condition(s)                          _ _ _ _ _ _ _ _ _ _ _ after denial of guilt.
The defendant is adjudicated guilty of these violations:

Violation Number             Nature of Violation                                                                                                   Violation Ended
Statutory                         The defendant illegally possessed crack cocaine                                                                  10/19/2010
                              ,    ",:',,! ;:i,',; ,,:V"I ,.' :':"::;,'i'nY:: ':! ':i,i::::'j:i;: '::;1"" ",:;.,.,,< ;:,';, '                  :    ,':' I,;::.i,HI!(,      ':!'
Standard: # 2, .                  The deferida/itii(ailIi!Qi;tonlil
                                                          ;"':""':,:',' :.,
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                                                                              :,:i'; "",',,:,:,:::,::.,':;,:
                                                                                                                                               i" 08/SQ~Ii!~Q!,.
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Standard # 6                      The defendant failed to notify probation of change of address                                                    12/16/2009

Standard #7,                      The' defend~iJfdreiQi~lboh(jlto.excess.
                                              ,   " '::;;,"':-
                                                         ."""  ',' ".:,,' .                     ,
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                                                                                                                                               ::i:ij!:~~ril1lmi~.q:~1*(:-';:;i::'::;
       The defendant is sentenced as provided in pages 2 through _--.:4,-_ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
o The defendant has not violated condition(s) _ _ _ _ _ _ _ and is discharged as to such violation(s) condition.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes m
economic CIrcumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 2039                                                 05/13/2011
                                                                                                                                Date Oflmpositi~ment


                                                                                                                       ~tW
Defendant's Year of Birth:             1968

City and State of Defendant's Residence:
Mt. Vernon, IL
                                                                                                    J. Phil Gilbert                                              District Judge
                                                                                                                                  Name and Title of Judge
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DEFENDANT: Larry W. York
CASE NUMBER: 02CR40078

                                                       ADDITIONAL VIOLATIONS

                                                                                                           Violation
Violation Number                Nature of Violation                                                        Concluded
Standard # 11

Special

                                 treatment.




           ii'




                               i,.;':'
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  AO 245D                                                          #1488
                (Rev. 12/07) Judgment in a Criminal Case for Revocations
                Sheet 2- Imprisonment

                                                                                                   Judgment -   Page   _.:::3_ of    4
  DEFENDANT: Larry W. York
  CASE NUMBER: 02CR40078


                                                                    IMPRISONMENT

           The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
  total term of :
6 months of week-ends in jail beginning on Friday at 6:00 p.m. until Sunday at 6:00 p.m.




       o    The court makes the following recommendations to the Bureau of Prisons:




       o    The defendant is remanded to the custody of the United States Marshal.

       o    The defendant shall surrender to the United States Marshal for this district:
            o     at   _________ 0                          a.m.      0    p.m.    on
            o     as notified by the United States Marshal.

       r;/ The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           o before 2 p.m. on
            o     as notified by the United States Marshal.
            ~ as notified by the Probation or Pretrial Services Office.

                                                                           RETURN

  I have executed this judgment as follows:




            Defendant delivered on                                                      to

  at   _ _ _ _ _ _ _ _ _ _ _ _ _ _ with a certified copy of this judgment.




                                                                                                UNITED STATES MARSHAL



                                                                                  By _____~~~~~~~~~~~-------
                                                                                             DEPUTY UNITED STATES MARSHAL
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              (Rev. l2/07) Judgment in a Criminal Case for Revocations #1489
              Sheet 3 - Supervised Release

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  DEFENDANT: Larry W. York
  CASE NUMBER: 02CR40078
                                                        SUPERVISED RELEASE

  Upon release from imprisonmen~ the defendant shall be on supervised release for a term of:
4 years. (The defendant is to remain on supervision ,continue his counseling and all meetings. The conditions previously
set remain in effect).


           The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release
  from the custody of the Bureau of Prisons.
  The defendant shall not commit another federal, state or local crime.
  The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
  substance. The defendant shall submit to one drug test within 15 days of release from imprisonment ana at least two periodic drug
  tests thereafter as determined by the court.
  o     The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)
  "     The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if
  "     The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
  o     The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works,
        or is a student, as directed by the probation officer. (Check, if applicable.)
  o     The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
           If this judgtllent imposes a fme or restitution, it is be a condition of supervised release that the defendant pay in accordance
  with the Schedule of Payments sheet of this judgment.
           The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
  conditions on the attached page.

                                             STANDARD CONDITIONS OF SUPERVISION
  1)        the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)        the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first
            five days of each month;
  3)        the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
            officer;
  4)        the defendant shall support his or her dependents and meet other family responsibilities;
  5)        the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training,
            or other acceptable reasons;
  6)        the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)        the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
            controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)        the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)        the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person
            convicted of a felony, unless granted penmssion to do so by the probation officer;
  10)      the defendant shall pennit a probation officer to visit him or her at any time at home or elsewhere and shall permit
           confiscation of any contraband observed in plain view of the probation officer;
  Il)       the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law
            enforcement officer;
  12)       th~ defendant sha:ll J?ot enter into any agreement to act as an informer or a special agent of a law enforcement agency
            WIthout the permlSSlOn of the court; and
  13)      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
           defendant's criminal record or personal history or characteristics and shall permit the probation officer to make such
           notifications and to confirm the defendant's compliance with such notification requirement
